      Case 2:21-cr-00343-AB Document 47 Filed 05/27/22 Page 1 of 3 Page ID #:445



 1   TRACY L. WILKISON
     United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     THOMAS F. RYBARCZYK (Cal. Bar No. 316124)
 4   Assistant United States Attorneys
     Public Corruption and Civil Rights Section
 5        1500 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-8452
 7        Facsimile: (213) 894-0141
          E-mail:     thomas.rybarczyk@usdoj.gov
 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 21-343-AB

13             Plaintiff,                     ORDER UNSEALING DOCUMENTS

14                   v.

15   HELIOS RAPHAEL DAYSPRING,
       aka “Bobby Dayspring,”
16
               Defendant.
17

18   For good cause shown, IT IS HEREBY ORDERED THAT:
19         The government’s ex parte application for order unsealing its
20   Motion for Downward Departured under U.S.S.G. § 5K1.1 is GRANTED.
21   The government’s Motion for Downward Departure under U.S.S.G.
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28
      Case 2:21-cr-00343-AB Document 47 Filed 05/27/22 Page 2 of 3 Page ID #:446



 1   § 5K1.1 filed at docket number 43 shall be unsealed and made

 2   available on the public docket.

 3

 4
     May 27, 2022
 5   DATE                                     HONORABLE ANDRÉ BIROTTE JR.
                                              UNITED STATES DISTRICT JUDGE
 6
     Presented by:
 7
     /s/ Thomas F. Rybarczyk
 8    THOMAS F. RYBARCZYK
      Assistant United States Attorney
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